    Case: 1:14-cv-07163 Document #: 18 Filed: 11/13/14 Page 1 of 3 PageID #:33



                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Stephan Julian,                             )
                                            )
     Plaintiff,                             )   Judge Dow
                                            )
              v.                            )   Magistrate Judge Valdez
                                            )
Sgt. Franklin D. Paz, Maurice               )   Case No. 14-cv-07163
Anderson, and the City of Chicago,          )
                                            )
     Defendants.                            )   JURY DEMANDED


                           FIRST AMENDED COMPLAINT

      Plaintiff, by counsel, alleges as follows:

      1.       This is a civil action arising under 42 U.S.C. Section 1983.

      2.       The jurisdiction of this Court is invoked pursuant to 28 U.S.C. Section

1343 and 1367.

      3.       Plaintiff Stephan Julian resides in the Northern District of Illinois.

      4.       Defendant Sgt. Frankin D. Paz is a police officer, with the rank of

Sergeant, employed by the City of Chicago.

      5.       Defendant Maurice Anderson is a police officer employed by the City of

Chicago.

      6.       Defendant City of City of Chicago is an Illinois municipal corporation.

      7.       Sgt. Paz and Officer Anderson are being sued in their individual

capacities.

      8.       On October 25, 2013, Sgt. Paz and Officer Anderson seized plaintiff.



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    Case: 1:14-cv-07163 Document #: 18 Filed: 11/13/14 Page 2 of 3 PageID #:34



        9.    They had no legal cause for seizing plaintiff.

        10.   When they seized plaintiff, they were acting under color of state law.

        11.   As a result of defendants’ actions, plaintiff was deprived of rights

secured to him by the Fourth and Fourteenth Amendments to the Constitution of

the United States.

        12.   On October 25, 2013, defendants charged plaintiff (or caused plaintiff

to be charged) with obstructing service of process.

        13.   There was no probable cause for this charge.

        14.   On October 25, 2013, defendants charged plaintiff (or caused plaintiff

to be charged) with resisting or obstructing a peace officer.

        15.   There was no probable cause for this charge.

        16.   On October 25, 2013, defendants charged plaintiff (or caused plaintiff

to be charged) with obstructing identification.

        17.   There was no probable cause for this charge.

        18.   Defendants acted with malice when they brought these false charges

against plaintiff.

        19.   These charges were terminated in plaintiff’s favor on November 21,

2013.

        20.   Plaintiff was damaged by these false charges.

        21.   The City of Chicago is liable for the acts of defendants as their

employer for state law torts, such as malicious prosecution, under respondeat

superior.



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        Case: 1:14-cv-07163 Document #: 18 Filed: 11/13/14 Page 3 of 3 PageID #:35



          22.     Plaintiff also sues the City of Chicago as indemnifier of defendants (for

every kind of award except punitive damages), pursuant to 745 ILCS 10/9-102.

          23.     Plaintiff demands trial by jury.

          WHEREFORE plaintiff prays that a jury find defendants liable under federal

and state law and award compensatory and punitive 1 damages; that this Court

enter judgment in his favor; that this Court award plaintiff attorney’s fees and

costs; and that the City of Chicago be made to pay every part of the award except

punitive damages.


                                                          BY:   Julie O. Herrera_____
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    (against individual defendants only)

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